                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER


 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 4:10-cr-30
 v.                                                    )
                                                       )       MATTICE / LEE
 TITUS SULLIVAN                                        )
                                                       )


                              REPORT AND RECOMMENDATION


         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on February 8, 2011.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the fourteen-count

 Indictment and entered a plea of guilty to Count One in exchange for the undertakings made by the

 government in the written plea agreement. On the basis of the record made at the hearing, I find the

 defendant is fully capable and competent to enter an informed plea; the plea is made knowingly and

 with full understanding of each of the rights waived by defendant; the plea is made voluntarily and

 free from any force, threats, or promises, apart from the promises in the plea agreement; the

 defendant understands the nature of the charge and penalties provided by law; and the plea has a

 sufficient basis in fact.

         Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One of the Indictment be granted, his plea of guilty to Count One be accepted, the Court adjudicate

 defendant guilty of Count One of the Indictment, and a decision on whether to accept the plea

 agreement be deferred until sentencing. The parties agreed Defendant should remain on bond

 pending sentencing due to exceptional circumstances. Therefore, I further RECOMMEND



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 Defendant remain on bond until sentencing in this matter. Acceptance of the plea, adjudication of

 guilt, acceptance of the plea agreement, and imposition of sentence are specifically reserved for the

 district judge.



                                                s/fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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